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UNITED STATES DISTRICT COURT JS6
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:20-cv-04997-RGK-SK Date December 16, 2020

Title Ken Saltzstine et al v. Princess Cruise Lines Ltd.

Present: The Honorable R.GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

Joseph Remigio Not Reported N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiff: Attorneys Present for Defendants:
Not Present Not Present
Proceedings: (IN CHAMBERS) Order Re: Defendant’s Motion to Dismiss the Second

Amended Complaint [DE 44]

I. INTRODUCTION

This case arises out of the COVID-19 outbreak on the Grand Princess, a cruise ship operated by
Princess Cruise Lines, Ltd. (“Princess Cruises” or “Defendant”). The Grand Princess departed out of
San Francisco for Hawaii on February 21, 2020, during the early days of the COVID-19 pandemic in
America. Eventually, many people on the ship tested positive for COVID-19.

Plaintiffs Ken Saltzstine and Marla Saltzstine (collectively, “Plaintiffs”) were passengers on the
Grand Princess. They were quarantined on the ship for four days before being placed in another
fourteen-day quarantine at Travis Air Force Base. On August 10, 2020, Plaintiffs filed a First Amended
Complaint (“FAC”) bringing claims for: 1) breach of contract; 2) negligence; and 3) gross negligence.
Defendant filed a Motion to Dismiss the FAC, and the Court granted the Motion with leave to amend on
October 23, 2020. Plaintiff subsequently filed a Second Amended Complaint (“SAC”) alleging: 1)
breach of contract and 2) negligence.

Presently before the Court is Defendant’s Motion to Dismiss Plaintiffs’ SAC. For the following
reasons, the Court GRANTS Defendant’s Motion.

Il. FACTUAL BACKGROUND

Plaintiffs’ SAC alleges the following:

Plaintiffs were passengers aboard the Grand Princess. Due a COVID-19 outbreak on the ship,
Plaintiffs had to be quarantined in their rooms. Plaintiffs are both diabetic and require regular mealtimes
and medication to control their medical condition. Defendant, as the operator of the Grand Princess,
owed a duty to Plaintiffs to provide them with access to regular meals and medication while on the ship.

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Defendant breached this duty in two ways. First, Defendant delivered Plaintiffs their food hours
after they had requested it. And, on multiple occasions, the food Plaintiffs received was high in sugar.
The untimely delivery along with the food’s sugary quality exacerbated Plaintiffs’ diabetic condition.

Second, Defendant breached its duty by failing to provide Plaintiffs with their requested
medication. When purchasing their tickets, Plaintiffs had advised Defendant that they were diabetic,
which required six different prescription medications. But when Plaintiffs ordered these medications,
Defendant never delivered them. This led to increased distress and anxiety as Plaintiffs’ diabetes
worsened.

Due to Defendant’s negligence, Plaintiffs suffered physical pain, emotional distress, and require
continuing medical care.

Wt. JUDICIAL STANDARD

Under Federal Rule of Civil Procedure 8(a), a complaint must contain a “short and plain
statement of the claim showing that the [plaintiff] is entitled to relief.” Be// Atl. Corp. v. Twombly, 550
U.S. 544, 555 (2007). If a complaint fails to adequately state a claim for relief, the defendant may move
to dismiss the claim under Rule 12(b)(6) to dismiss for failure to state a claim upon which relief can be
granted. Fed. R. Civ. P. 12(b)(6). “To survive a motion to dismiss, a complaint must contain sufficient
factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,
556 U.S. 662, 678 (2009) (quoting Zwombly, 550 U.S. at 570). A claim is facially plausible if the
plaintiff alleges enough facts to allow the court to draw a reasonable inference that the defendant is
liable. Jd. A plaintiff need not provide detailed factual allegations, but must provide more than mere
legal conclusions. Twombly, 550 U.S. at 555. However, “[t]hreadbare recitals of the elements of a cause
of action, supported by mere conclusory statements do not suffice.” Jgba/, 556 U.S. at 678.

When ruling on a 12(b)(6) motion, the court must accept the allegations in the complaint as true
and construe them in the light most favorable to the non-moving party. Cahill v. Liberty Mut. Ins. Co.,
80 F.3d 336, 337-38 (9th Cir. 1996). “Factual allegations must be enough to raise a right to relief above
the speculative level.” Zwombly, 550 U.S. at 555. Dismissal is “appropriate only where the complaint
lacks a cognizable legal theory or sufficient facts to support a cognizable legal theory.” Mendiondo v.
Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008).

IV. DISCUSSION

A. Negligence Claim

The Court begins with Plaintiff's negligence claim.

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“To satisfy the burden of proof in a negligence action, plaintiff must show: (1) that defendant
owed plaintiff a duty; (2) that defendant breached that duty; (3) that this breach was the proximate cause
of plaintiff's injury; and (4) that plaintiff suffered damages.” Mumford v. Carnival Corp. 7 F. Supp. 3d
1243, 1247 (S.D. Fla. 2014). Under maritime law, a shipowner owes a duty of “reasonable care under
the circumstances of each case” to its passengers. Kermarec v. Compagnie Generale Transatlantique,
358 U.S. 625, 632 (1959).

Here, Plaintiffs allege that Defendant had a duty to deliver Plaintiffs’ food at “regular”
mealtimes. On a ship with hundreds of other passengers, Defendant’s duty was to provide passengers
with food at reasonable times. Plaintiffs have not identified caselaw which extends that duty any further,
and there no allegations that Defendant failed to provide Plaintiffs food at all. Nor do Plaintiffs aver that
Defendant assumed a duty to provide meals at specified times by promising to accommodate Plaintiffs’
request. Thus, Defendant did not have a duty to provide food at Plaintiffs’ designated time.

Next, Plaintiffs aver that Defendant had a duty to provide them with low-sugar foods. This
allegation also fails. Plaintiffs have only averred that they “advised [Defendant] of their diabetic
conditions during the booking process.” (SAC § 45). There are no allegations that Defendant undertook
such a duty by promising to accommodate their dietary restrictions. Passengers are free to advise
common carriers of many conditions, ailments, and needs. But that does not require the carriers to
indulge every request.

Finally, Plaintiffs allege that Defendant had a duty to provide them with their requested diabetes
medication. But again, Plaintiffs do not aver that Defendant accepted that duty by promising to carry
Plaintiffs’ medication on the ship. Plaintiffs argue in their Opposition that Defendant had a duty to
“provide aid in some form.” (Opp’n at 6, ECF No. 49). Yet Plaintiffs do not explain why the “aid”
requires Defendant to provide Plaintiffs with six different medications. Plaintiffs have therefore failed to
allege that Defendant owed Plaintiffs a duty to provide them with their medication.

Accordingly, Plaintiffs have not alleged that Defendant owed a cognizable duty that could give
rise to Plaintiffs’ negligence claim. As Plaintiffs have already been granted leave to amend, the Court
dismisses Plaintiffs’ negligence claim with prejudice.

B. Breach of Contract Claim

A prima facie case of breach of contract under maritime law requires: (1) the existence of a
contract between the plaintiff and the defendant; (2) performance of the plaintiff's obligations under the
contract; (3) breach of the contract by that defendant; and (4) damages to the plaintiff caused by that
defendant's breach. See, e.g., OOCL (USA) Inc. v. Transco Shipping Corp., 2015 WL 9460565, at *4
(S.D.N.Y. 2015) (applying maritime law).

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Plaintiffs allege that Defendant “breached the contract by failing to provide PLAINTIFFS with
regular access to meals and necessary medication” and point to Section 8 of the passage contract. (SAC
4 33). The pertinent portion of Section 8 states:

Due to the risks inherent in travel by sea, as described in Section 4 of this
Passage Contract, if You have any special medical, physical or other
requirements, You, Your travel agent, or any person booking on Your
behalf is requested to inform Carrier in writing at the time of booking of
any special need or other condition for which You or any other person in
Your care may require medical attention or accommodation during the
Cruise, or for which the use of a wheelchair or service animal is
contemplated or necessary. If any such special need or condition arises after
You have booked the Cruise, You are requested to report it in writing to
Carrier as soon as You become aware of it. Guests acknowledge and
understand that certain international, foreign or local safety requirements,
standards, and/or regulations involving design, construction or operation of
the vessel, docks, gangways, anchorages or other facilities on or off the
vessel may restrict access to facilities or activities for persons with mobility,
communication or other impairments or special needs.

Passage Contract at 10-11, ECF No. 41-1.

Plaintiffs misread Section 8 of the passage contract. It does not state that Defendant would or
could accommodate all passengers’ requests; it only asks that passengers notify Defendant about any
special needs or condition. Because the passage contract does not promise that Defendant would provide
“regular access to meals and necessary medication,” Defendant did not breach the passage contract.
Thus, Plaintiff has not alleged a breach of contract claim. The Court has already granted Plaintiffs leave
to amend and therefore dismisses Plaintiffs’ breach of contract claim with prejudice.

V. CONCLUSION
For the foregoing reasons, the Court GRANTS Defendant’s Motion with prejudice.

IT IS SO ORDERED.

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